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1    Patience Milrod
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2    Fresno, California 93728
     559/442-3111
3
     Attorney for GAUVENCIO MADRIGAL CHÁVEZ
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        IN THE UNITED STATES DISTRICT COURT IN AND FOR THE EASTERN
                           DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA, )              Case No. 1:11-cr-00358-AWI DLB
                                  )
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            Plaintiff,            )           STIPULATION TO CONTINUE
                                  )           SENTENCING HEARING and
11
        vs.                       )           ORDER
                                  )
12
     GAUVENCIO MADRIGAL           )
     CHÁVEZ,                      )
13
                       Defendant. )
14
                  IT IS HEREBY STIPULATED by and between the parties hereto through
15
     their respective counsel, KAREN ESCOBAR, Assistant United States Attorney for
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     Plaintiff, and PATIENCE MILROD, counsel for the Defendant:
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           1.     The parties to the above-captioned matter agree to vacate the September
18
                  24, 2012, hearing date and reset the matter for November 26, 2012 at 10:00
19
                  a.m.
20
           2.     The parties stipulate that the continuance is necessitated by the parties
21
                  need to gather further information for preparation of the Presentence
22
                  Report.
23
     Stipulation and Proposed Order          1
     Case 1:11-cr-00358-LJO-BAM Document 100 Filed 08/17/12 Page 2 of 3


1    Dated: August 17, 2012
                                             /s/ Karen Escobar
2                                            United States Attorney
                                             BENJAMIN B. WAGNER
3                                            By KAREN ESCOBAR
                                             Assistant U.S. Attorney
4

5
     Dated: August 17, 2012
6
                                             /s/Patience Milrod
                                             PATIENCE MILROD
7
                                             Attorney for defendant
                                             Gauvencio Madrigal-Chavez
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     Stipulation and Proposed Order   2
     Case 1:11-cr-00358-LJO-BAM Document 100 Filed 08/17/12 Page 3 of 3


1                                                   ORDER ON STIPULATION

2                             Having received and reviewed the stipulation of the parties, and good cause

3    appearing therefor,

4                             IT IS HEREBY ORDERED that the sentencing hearing presently set for

5    September 24, 2012 at 10:00 a.m. be and is hereby continued to a new date of November

6    26, 2012 at 10:00 a.m.

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10   IT IS SO ORDERED.

     Dated: August 17, 2012
11                                                      CHIEF UNITED STATES DISTRICT JUDGE
        DEAC_Signature-END:




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        9h0d30bb
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     Stipulation and Proposed Order                           3
